




Affirmed and Memorandum Opinion filed August 21, 2008








Affirmed
and Memorandum Opinion filed August 21, 2008.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-07-00882-CR

____________

&nbsp;

JOEY PERNELL RIGGINS,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 262nd District
Court

Harris County, Texas

Trial Court Cause No.
1110375

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
entered a plea of Aguilty@ to the offense of aggravated perjury.&nbsp; On October 11, 2007,
the trial court sentenced appellant to confinement for five years in the
Institutional Division of the Texas Department of Criminal Justice.&nbsp; Appellant
filed a pro se notice of appeal.








Appellant=s appointed counsel filed a brief in
which he concludes the appeal is wholly frivolous and without merit.&nbsp; The brief
meets the requirements of Anders v. California, 386 U.S. 738, 87 S.Ct.
1396 (1967), by presenting a professional evaluation of the record and
demonstrating why there are no arguable grounds to be advanced.&nbsp; See High v.
State, 573 S.W.2d 807, 811-12 (Tex. Crim. App. 1978).

A copy
of counsel=s brief was delivered to appellant.&nbsp; Appellant was advised of the right
to examine the appellate record and file a pro se response.&nbsp; See Stafford v.
State, 813 S.W.2d 503, 510 (Tex. Crim. App. 1991).&nbsp; As of this date, more
than sixty days has elapsed and no pro se response has been filed.

We have
carefully reviewed the record and counsel=s brief and agree the appeal is
wholly frivolous and without merit.&nbsp; See Bledsoe v. State, 178 S.W.3d
824, 827-28 (Tex. Crim. App. 2005).&nbsp; Further, we find no reversible error in
the record.&nbsp; A discussion of the brief would add nothing to the jurisprudence
of the state.&nbsp; 

Accordingly,
the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed August
21, 2008.

Panel consists of Justices Anderson, Fowler, and
Frost. 

Do Not Publish C Tex. R. App. P.
47.2(b).





